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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


IN RE: TAXOTERE (DOCETAXEL) PRODUCTS                            MDL NO. 2740
LIABILITY LITIGATION
                                                                SECONTION "H" (5)

                                                                HON. JANE T. MILAZZO
    THIS DOCUMENT RELATES TO:

    Thelma Ford v. Sanofi US Services Inc., EDLA
    2:17-cv-16966




                             AMENDED SHORT FORM COMPLAINTl
         Plaintiff incorporates by reference the Second Amended Master Long Form Complaint and
Jury Demand filed in the above referenced case on December 11, 2017 (MDL Doc. 4407). Pursuant
to Pretrial Order No. 15, this Amended Short Form Complaint adopts allegations and encompasses
claims as set forth in the Second Amended Master Long Form Complaint against Defendant(s).
         Plaintiff(s) further allege as follows:
1.       Plaintiff:
                 Thelma Ford
2.       Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss of
         consortium):
                 N/A
3.       Other type of Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
                 N/A
4.       Current State of Residence: Pennsylvania
5.       State in which Plaintiff(s) allege(s) injury: Pennsylvania


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 (Effective as of May 13, 2020) This version of the Short Form Complaint supersedes all prior versions of the form
pursuant to Pretrial Order No. 73A. This Court-approved version of the Short Form Complaint is available on the
Court's Taxotere webpage and through MDL Centrality.




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 6.   Defendants (check all Defendants against whom a Complaint is made):

             Taxotere Brand Name Defendants

                       A. Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                       B. Sanofi-Aventis U.S. LLC

             Other Brand Name Drug Sponsors, Manufacturers, Distributors

                      A. Sandoz Inc.

                      B. Accord Healthcare, Inc.

                      C. McKesson Corporation d/b/a McKesson Packaging

                      D. Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                      E.   Hospira, Inc.

                      F.   Sun Pharma Global FZE

                      G. Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                         Laboratories Ltd.
                      H. Pfizer Inc.

                      I.   Actavis LLC f/k/a Actavis Inc.

                      J.   Actavis Pharma, Inc.

             ☐        K.   Sagent Pharmaceuticals, Inc.

                      L. Other:




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 7.    Basis for Jurisdiction:

                Diversity of Citizenship

                Other (any additional basis for jurisdiction must be pled in sufficient detail as
                required by the applicable Federal Rules of Civil Procedure):




 8.    Venue:

       District Court and Division in which remand and trial is proper and where you might
       have otherwise filed this Short Form Complaint absent the direct filing Order entered by
       this Court:

                                           Western District of Pennsylvania



 9.    Brand Product(s) used by Plaintiff (check applicable):

                   A. Taxotere

                   B. Docefrez

                   C. Docetaxel Injection

                   D. Docetaxel Injection Concentrate

                   E. Unknown

                   F. Other:




 10.   First date and last date of use (or approximate date range, if specific dates are unknown)
       for Products identified in question 9:

        October 13, 2011 and December 29, 2011



 11.   State in which Product(s) identified in question 9 was/were administered:




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       Pennsylvania




 12.   Nature and extent of alleged injury (including duration, approximate date
       of onset (if known), and description of alleged injury):

       Severe and personal injuries that are permanent and lasting in nature
       including economic and non-economic damages harms and losses,
       including, but not limited to: past and future medical expenses;
       psychological counseling and therapy expenses; past and future loss of
       earnings; past and future loss and impairment of earning capacity,
       permanent disfigurement, including permanent alopecia; mental anguish;
       severe and debilitating emotional distress; increased risk of future harm;
       past, present and future physical and mental pain, suffering and
       discomfort; and past, present and future loss and impairment of the
       quality and enjoyment of life.



 13.   Counts in Master Complaint brought by Plaintiff(s):

                 Count I – Strict Products Liability - Failure to Warn
                 Count III – Negligence
                 Count IV – Negligent Misrepresentation
                 Count V – Fraudulent Misrepresentation
                 Count VI – Fraudulent Concealment
                 Count VII – Fraud and Deceit

                 Other: Plaintiff(s) may assert the additional theories and/or
                 State Causes of Action against Defendant(s) identified by
                 selecting “Other” and setting forth such claims below. If
                 Plaintiff(s) includes additional theories of recovery, for
                 example, Redhibition under Louisiana law or state consumer
                 protection claims, the specific facts and allegations supporting
                 additional theories must be pleaded by Plaintiff in sufficient
                 detail as required by the applicable Federal Rules of Civil
                 Procedure.




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14.   Name of Attorney(s), Bar Number(s), Law Firm, Phone Number, Email Address(es) and
      Mailing Address representing Plaintiff:




                                          BACHUS & SCHANKER, LLC
                                          By: /s/ J. Christopher Elliott
                                          J. Christopher Elliott (#41063)
                                          Darin L. Schanker (#23881)
                                          J. Kyle Bachus (#24441)
                                          Bachus & Schanker, LLC
                                          950 17th Street, Suite 1050
                                          Denver, CO 80202
                                          Telephone: (303) 893-9800
                                          Fax: (303) 893-9900
                                          Email: celliott@coloradolaw.net
                                          E-mail: dschanker@coloradolaw.net
                                          E-mail: kyle.bachus@coloardolaw.net
                                          Attorneys for Plaintiff




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